
In re Valiant Insurance Company; XL Specialty Insurance Company; — Defendants); Applying For Writ of Certiorari and/or Review, Parish of St. Tammany, 22nd Judicial District Court Div. F, No. 2010-17762; to the Court of Appeal, First Circuit, No. 2014 CA 1304.
Granted in part. The case is remanded to the court of appeal, which is instructed to. convert relator’s appeal to an application for supervisory writs and consider the application on the merits. See Stelluto v. Stelluto, 05-0074 (La.6/29/05), 914 So.2d 34. In all other respects, the application is denied.
JOHNSON, C.J., and KNOLL, J., would deny.
